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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CENTER FOR BIOLOGICAL DIVERSITY, et al.,

         Plaintiffs,
                 v.                                            Case No. 1:21-cv-0119 (RDM)
 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, et al.

         Defendants.


  UNOPPOSED MOTION FOR EXTENSION OF TIME BY FEDERAL DEFENDANTS
   AND FLORIDA INTERVENORS TO RESPOND TO PLAINTIFFS’ MOTION FOR
                LEAVE TO FILE SUR-REPLY AND EXHIBIT

       Federal Defendants and Intervenor-Defendants the State of Florida and the Florida

Department of Environmental Protection (“the Florida Intervenors”), by and through their

respective undersigned counsel, respectfully move the Court to extend the July 28, 2023 deadline

to file their respective oppositions to Plaintiffs’ Motion for Leave to File Sur-Reply and Exhibit

(Dkt. No. 109) by one week, through and including August 4, 2023. See Local Civil Rule 7(b).

       Counsel for Plaintiffs notified counsel for Federal Defendants on the afternoon of July

11, 2023 of Plaintiffs’ intention to seek leave to file a sur-reply and an additional exhibit. This

notification came the day before one of Federal Defendants’ attorneys, Andrew S. Coghlan, left

for a two-week vacation outside of the United States. Mr. Coghlan is not scheduled to return to

the office until July 27, 2023. Federal Defendants’ other counsel of record, Alison C. Finnegan,

has a reply brief due on July 27, 2023, and is scheduled to begin a one-week vacation at the end

of the day on July 28, 2023, and will not return to the office until August 7, 2023. Likewise,

counsel for the Florida Intervenors also have personal and professional obligations, including



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prepaid personal travel with family from July 21 to July 31, 2023. Accordingly, this brief

extension is necessary to accommodate pre-existing professional obligations and long-standing

and pre-paid vacation plans.

       Counsel for Federal Defendants and counsel for the Florida Intervenors have conferred

with counsel for Plaintiffs, who advise that they consent to the relief requested. As the Court has

scheduled a hearing on this matter for September 8, 2023, Federal Defendants and the Florida

Intervenors submit that the requested extension would not delay the proceeding. Federal

Defendants and the Florida Intervenors, therefore, respectfully request that this motion be

granted.

Dated: July 14, 2023                                 Respectfully submitted,

                                                     /s/ Alison C. Finnegan
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 14, 2023, a true and correct copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system, which will send notification of

this filing to the attorneys of record.

                                                      /s/ Alison C. Finnegan




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